         3:15-cv-03308-SEM-TSH # 54            Page 1 of 3                                          E-FILED
                                                                     Monday, 02 October, 2017 02:51:17 PM
                                                                              Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  SPRINGFIELD DIVISION

 SAJIDA AHAD, MD, on behalf of herself and all            )
 others similarly situated,                               )
                            Plaintiff,                    )
                                                          )
 v.                                                       )
                                                          )   No.   15-cv-03308-SEM-TSH
                                                          )
 BOARD OF TRUSTEES OF SOUTHERN                            )
 ILLINOIS UNIVERSITY and SIU PHYSICIANS                   )
 & SURGEONS, INC.,                                        )
                                                          )
                                 Defendants.              )
                                                          )

                PLAINTIFF’S MOTION FOR LEAVE TO FILE A
       REPLY MEMORANDUM IN SUPPORT OF PLAINITFF’S MOTION TO BAR
           DEFENDANTS’ RELIANCE ON UNDISCLOSED INFORMATION

      Dr. Sajida Ahad, by and through her counsel, requests leave to file a reply to Defendants’

Response (Dkt. 52) to Plaintff’s Motion to Bar Defendants’ Reliance on Undisclosed

Information and their Expert Report Based Thereon In Opposing Class Certification (Dkt. 48). In

support of her motion, Plaintiff states as follows:

         1.      Plaintiff filed her Motion to Bar Defendants’ Reliance on Undisclosed

Information and their Expert Report Based Thereon In Opposing Class Certification (Dkt. 48)

and Memorandum in support (Dkt. 49) on August 10, 2017.

         2.      Pursuant to an extension granted by the Court, Defendants filed their thirty-one

(31) page Response to this Motion (Dkt. 52) on September 21, 2017.

         3.      In their Response, Defendants accuse Plaintif of making claims that are

“misleading” and “demonstably false.” (Dkt. 52, p. 2). Defendants also seek their fees and

expenses for having to file their response to Plaintiff’s motion. (Dkt. 52, p. 29).



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       4.      Per Local Rule 7.1(B)(3), Plaintiff respectfully requests leave to file a Reply

Memorandum in support of her original motion. Plaintiff’s proposed reply memorandum

(attached as Exhibit 1) responds to Defendants’ new assertions and explains how Defendants’

arguments and facts support Plaintiff’s motion by establishing that Defendants failed to timely

produce requested information. Plaintiff believes this memorandum will assist the Court in

understanding the issues and determining whether, as Defendant claims: (1) Plaintiff made false

or deliberately misleading arguments warranting imposition of fees; and (2) whether the

information Defendants failed to timely produce was “attorney work product,” as Defendants

now claim.

       5.      On September 20, 2017 Plaintiff’s counsel emailed Defendants’ counsel to ask if

Defendants opposed Plaintiff submitting a reply. To date, Defendants counsel has not

responded.

       WHEREFORE, Plaintiff prays that this Honorable Court grant her Motion permitting her

leave to file her attached Reply in Support of her Motion to Bar Defendants’ Reliance on

Undisclosed Information and their Expert Report based Thereon in Opposing Class Certification.

                                             Respectfully submitted for Plaintiff
                                             Dr. Sajida Ahad, on behalf of herself and
                                             all others similarly situated,

                                             /s/ J. Bryan Wood
                                             Attorney for Plaintiff

J. Bryan Wood (ARDC #6270845)
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                                PROOF OF SERVICE

       The undersigned certifies that the foregoing Plaintiff’s Motion For Leave to File a Reply
to Defendants’ Response to Plaintiff’s Motion To Bar Defendants’ Reliance Undisclosed
Information and Their Expert Report Based Thereon In Opposing Class Certification was served
upon the following counsel for Defendants in the above matter on October 2, 2017 by filing it via
the Court’s electronic case filing system.


Served upon:

Thomas Wilson
Jessica L. Galanos
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                                                     By: /s/ J. Bryan Wood




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